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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

ANISSA DAVIS,                                  *
               PLAINTIFF,                      *
v.                                             *       CASE No. 1:16-cv-00442-UNA

SANTANDER BANK, N.A., AND                      *
VITAL RECOVERY SERVICES, LLC,
                                               *
               DEFENDANTS.
*       *      *       *       *       *       *       *       *       *        *      *       *
                                    STIPULATION OF DISMISSAL

        The parties, by their respective undersigned counsel and pursuant to Fed. R. Civ. P.

41(a)(l)(A)(ii), hereby stipulate to the dismissal of this action, with prejudice, all parties to bear

their own respective fees and costs.

Dated: November 4, 2016
        Wilmington, Delaware

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